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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NATIONAL COUNCIL OF
NONPROFITS, et al.,
                  Plaintiffs,
                                                               Case No. 1:25-cv-00239
                     v.

OFFICE OF MANAGEMENT &
BUDGET, et al.,

                Defendants.


               MOTION TO ADMIT WILL BARDWELL PRO HAC VICE

       The undersigned, an attorney admitted to the Bar of this Court and in good

standing, respectfully moves for the admission of Will Bardwell, pro hac vice, as counsel

for Plaintiffs National Council of Nonprofits, American Public Health Association,

Main Street Alliance, and SAGE in this proceeding, pursuant to Local Rule 83.2(c) of the

Local Rules of the United States District Court for the District of Columbia. Mr.

Bardwell is a member in good standing of the Bar of the District of Columbia. He

is not currently and           has   never       previously    been      the     subject     of      any

disciplinary   action     by     any         state     or      federal         bar     association    or

administrative agency. Finally, the undersigned is satisfied that Mr. Bardwell possesses

the character and skills required of a member of the Bar of this Court.

        Accordingly, the undersigned respectfully requests admission of Will Bardwell pro

hac vice as representative of Plaintiffs in this proceeding.
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Dated: January 28, 2025                Respectfully submitted,

                                       /s/ Kaitlyn Golden

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